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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA           )
                                   )
                Plaintiff,         )                   8:05CR86
                                   )
          v.                       )
                                   )
KIMBERLY J. SNYDER,                )           MEMORANDUM AND ORDER
NICHOLE F. FRYE and                )
HEATHER M. ELLIS,                  )
                                   )
                Defendants.        )




     At the hearing before me on July 11, 2005, defendant Ellis
requested an additional thirty days to prepare for trial and also
waived her right to a speedy trial to accommodate that request.
The government did not object.       Accordingly,


     IT THEREFORE HEREBY IS ORDERED,

     1. This case as to all of the above-named defendants is set
for trial before the Hon. Richard G. Kopf on September 12, 2005
commencing at 9:00 a.m. for a duration of three trial days.
Jury selection will be at commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendants in a speedy trial, and the additional time arising as
a result of the granting of the motion, the time between
July 11, 2005 and September 12, 2005 shall be deemed excludable
time in any computation of time under the requirements of the
Speedy Trial Act, for the reason that the parties require
additional time to adequately prepare the case, taking into
consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
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additional time might result in a miscarriage of justice.                18
U.S.C. § 3161(h)(8)(A) & (B).

     DATED this 11th day of July, 2005.

                                   BY THE COURT:


                                   s/ David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
